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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                      )
In re:                                                                )   Chapter 11
                                                                      )
REVITALID PHARMACEUTICAL CORP., et al.,                               )   Case No. 23-11704 (BLS)
                                                                      )
                                   Debtors. 1                         )   (Joint Administration Requested)
                                                                      )

    NOTICE OF (I) FILING OF BANKRUPTCY PETITIONS AND RELATED
   DOCUMENTS AND (II) AGENDA FOR HEARING ON FIRST DAY MOTIONS
SCHEDULED FOR OCTOBER 13, 2023 AT 10:00 A.M. (EASTERN STANDARD TIME),
 BEFORE THE HONORABLE BRENDAN L. SHANNON, AT THE UNITED STATES
       BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE 2


   THE HEARING WILL BE CONDUCTED IN-PERSON AND VIA ZOOM. ALL
 INDIVIDUALS PARTICIPANTING BY VIDEO MUST REGISTER AT LEAST TWO
HOURS PRIOR TO THE HEARING. COURTCALL WILL NOT BE USED TO DIAL IN.

     PLEASE USE THE FOLLOWING LINK TO REGISTER FOR THE HEARING:

 https://debuscourts.zoomgov.com/meeting/register/vJItduuqpjIsGgYlUhsikggWcu7NfXhm8Jk

     ONCE REGISTERED, PARTIES WILL RECEIVE A CONFIRMATION EMAIL
      CONTAINING PERSONAL LOG-IN INFORMATION FOR THE HEARING.


        PLEASE TAKE NOTICE that on October 12, 2023, the above-captioned debtors and
debtors in possession (collectively, the “Debtors”) filed the following voluntary petitions
(collectively, the “Petitions”) for relief under chapter 11 of title 11 of the United States Code, 11
U.S.C. §§ 101-1532:

A.       Voluntary Petitions:

         1.        RevitaLid Pharmaceutical Corp.

         2.        RVL Pharmaceuticals, Inc.
1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: RevitaLid Pharmaceutical Corp. (0983), RVL Pharmaceuticals, Inc. (7918), and RVL Pharmacy, LLC
(6132). The location of the Debtors’ principal place of business is 400 Crossing Boulevard, Bridgewater, New
Jersey 08807.
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   All motions and other pleadings referenced herein are available online at the following address:
https://restructuring.ra.kroll.com/RVL.



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         3.        RVL Pharmacy, LLC

      PLEASE TAKE FURTHER NOTICE that in addition to filing the Petitions, the
Debtors filed the following first day motions and related documents (collectively, the “First
Day Motions”):

B.       First Day Declaration:
         4.        Declaration of Brian Markison, Chief Executive Officer of the Debtors, in
                   Support of Debtors’ Chapter 11 Petitions and First Day Motions [Docket No.
                   22; filed October 12, 2023]

C.       First Day Motions:
         5.        Motion of Debtors for Entry of an Order Authorizing the Joint Administration
                   of the Chapter 11 Cases [Docket No. 2; filed October 12, 2023]

         6.        Debtors’ Application for an Order Authorizing the Retention and
                   Appointment of Kroll Restructuring Administration LLC as Claims and
                   Noticing Agent for the Debtors [Docket No. 10; filed October 12, 2023]

         7.        Motion of Debtors for Entry of Interim and Final Orders (I) Establishing
                   Procedures for Determining Adequate Assurance of Payment, (II) Finding
                   Utilities Adequately Assured of Payment, (III) Prohibiting Utilities from
                   Altering, Refusing, or Discontinuing Utility Services, and (IV) Granting
                   Related Relief [Docket No. 5; filed October 12, 2023]

         8.        Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing
                   Debtors to Pay Certain Prepetition Taxes and Fees and (II) Granting Related
                   Relief [Docket No. 7; filed October 12, 2023]

         9.        Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the
                   Debtors to (A) Pay Prepetition Wages, Salaries, Compensation, Reimbursable
                   Expenses, and Other Obligations on Account of Compensation and Benefits
                   Programs and (B) Continue Compensation and Benefits Programs, (II)
                   Modifying the Automatic Stay with Respect to the Workers’ Compensation
                   Program and (III) Granting Related Relief [Docket No. 3; filed October 12,
                   2023]

         10.       Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing
                   Payment of Certain Prepetition Claims of Trade Creditors, (II) Confirming
                   Administrative Expense Priority Status of Debtors’ Undisputed Obligations
                   for Postpetition Delivery of Goods and Services, (III) Authorizing Payment of
                   Refunds to Prepetition Customer Depositors, (IV) Authorizing Financial
                   Institutions to Honor and Process Related Checks and Fund Transfers, and
                   (V) Granting Related Relief [Docket No. 6; filed October 12, 2023]




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         11.       Motion of Debtors for Interim and Final Orders (I) Authorizing Continued
                   Use of the Debtors’ Existing Cash Management System and Bank Accounts;
                   (II) Authorizing Continued Use of Existing Business Forms; (III) Authorizing
                   Continued Performance of Certain Intercompany Transactions; (IV) Waiving
                   Certain United States Trustee Guidelines; and (V) Granting Related Relief
                   [Docket No. 8; filed October 12, 2023]

         12.       Motion of Debtors for Entry of an Order (I) Scheduling Combined Hearing to
                   Consider (A) Approval of Disclosure Statement, (B) Approval of Solicitation
                   Procedures, and (C) Confirmation of Prepackaged Plan; (II) Establishing an
                   Objection Deadline to Object to Disclosure Statement and Plan; (III)
                   Approving the Form and Manner of Notice of Combined Hearing, Objection
                   Deadline, Notice of Commencement, and Notice of Unimpaired Status; (IV)
                   Conditionally Waiving Requirement of Filing Initial Reports of Financial
                   Information, Statement of Financial Affairs and Schedules of Assets and
                   Liabilities; (V) Conditionally Waiving Requirement to Convene the Section
                   341 Meeting of Creditors; and (VI) Granting Related Relief Pursuant to
                   Sections 105(a), 341, 521(a), 1125, 1126, and 1128 of the Bankruptcy Code
                   and Bankruptcy Rules 1007, 2002, 3017, and 3018 [Docket No. 14; filed
                   October 12, 2023]

         13.       Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing
                   Debtors and Debtors in Possession to (A) Obtain Postpetition Financing, (B)
                   Use Cash Collateral, (C) Grant Liens and Super-Priority Claims, and (D)
                   Grant Adequate Protection; (II) Modifying the Automatic Stay; (III)
                   Scheduling a Final Hearing; and (IV) Granting Related Relief [Docket No.
                   18; filed October 12, 2023]

                   i.    Declaration of Jay K. Sinha in Support of the Motion of Debtors for
                         Entry of Interim and Final Orders (I) Authorizing Debtors and Debtors
                         in Possession to (A) Obtain Postpetition Financing, (B) Use Cash
                         Collateral, (C) Grant Liens and Super-Priority Claims, and (D) Grant
                         Adequate Protection; (II) Modifying the Automatic Stay; (III)
                         Scheduling a Final Hearing; and (IV) Granting Related Relief [Docket
                         No. 21; filed October 12, 2023]

         Plan-Related Documents: 3

         14.       Joint Prepackaged Chapter 11 Plan of RevitaLid Pharmaceutical Corp. and its
                   Subsidiaries [Docket No. 15; filed October12, 2023]



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  For the Court’s convenience and in light of certain relief being sought in connection with the
Scheduling/Solicitation Motion, the Debtors have included copies of the Plan and Disclosure Statement on the
agenda (and provided the same in the Court’s hearing binder).



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         15.       Disclosure Statement for the Joint Prepackaged Chapter 11 Plan of RevitaLid
                   Pharmaceutical Corp. and its Subsidiaries [Docket No. 16; filed October 12,
                   2023]

        PLEASE TAKE FURTHER NOTICE that a hearing with respect to the First Day
Motions is scheduled for October 13, 2023 at 10:00 a.m. (Eastern Standard Time) before The
Honorable Brendan L. Shannon, United States Bankruptcy Judge for the District of Delaware
(the “First Day Hearing”). Parties who wish to participate in the First Day Hearing may do so
by              joining            the             Zoom                 hearing            at:
https://debuscourts.zoomgov.com/meeting/register/vJItduuqpjIsGgYlUhsikggWcu7NfXhm8Jk

      PLEASE TAKE FURTHER NOTICE that objections, if any, to the First Day
Motions may be made at the First Day Hearing.




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Dated: October 12, 2023
       Wilmington, Delaware
                                            /s/ Sarah E. Silveira
                                             Mark D. Collins (No. 2981)
                                             Brendan J. Schlauch (No. 6115)
                                             Sarah E. Silveira (No. 6580)
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                                            -and-

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